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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1) STEPHANIE FLEMING,

              Plaintiff,

v.                                                  Case No. CIV-18-333-M

2) LIBERTY MUTUAL FIRE
INSURANCE COMPANY,

              Defendant.

                               NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Liberty Mutual Fire

Insurance Company (“Liberty Mutual”) hereby removes the above-captioned case from the

District Court of Oklahoma County, State of Oklahoma, to the United States District Court

for the Western District of Oklahoma. In support of this removal, Liberty Mutual states as

follows:

       1.     On March 21, 2018, Plaintiff Stephanie Fleming (“Plaintiff”) commenced an

action in the District Court of Oklahoma County, Oklahoma, entitled Stephanie Fleming v.

Liberty Mutual Fire Insurance Company, Case No. CJ-2018-1576 (the “State Court

Action”). A true copy of the state court docket sheet is attached as Exhibit 1. All process,

pleadings, and orders filed or served in the State Court Action are attached hereto as

Exhibits 2 through 8.

       2.     Upon information and belief, Plaintiff is a citizen of Oklahoma County,

Oklahoma. Defendant Liberty Mutual is a corporation incorporated under the laws of the

State of Massachusetts with its principal place of business in Boston, Massachusetts.
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       3.      In accordance with 28 U.S.C. § 1446(b)(1), this action has been removed

within thirty (30) days of service of Plaintiff’s Petition.

       4.      The Western District of Oklahoma includes the state judicial district in which

Plaintiff filed her Petition.

       5.      This is a civil action over which this Court has original jurisdiction based on

diversity of citizenship and amount in controversy pursuant to 28 U.S.C. § 1332, and which

may be removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446. (See Exhibit 2,

Petition, at Plaintiff’s Prayer for Relief).

       6.      Contemporaneous with Liberty Mutual’s filing of this Notice, Liberty

Mutual shall serve written notice to Plaintiff’s counsel of this filing, as required by 28

U.S.C. § 1446(d).

       7.      Liberty Mutual shall also file a true copy of its Notice of Removal with the

Clerk of the District Court in and for Oklahoma County, State of Oklahoma, as required

by 28 U.S.C. § 1446(d).

                                       CONCLUSION

       Defendant Liberty Mutual Fire Insurance Company respectfully removes the State

Court action from the District Court for Oklahoma County, Oklahoma, to the United States

District Court for the Western District of Oklahoma, to proceed as an action properly

removed thereto.




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Dated:    April 12, 2018                    Respectfully submitted,

                                            HALL, ESTILL, HARDWICK,
                                            GABLE, GOLDEN & NELSON, P.C.

                                  By:       s/William W. O’Connor
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                                            ATTORNEYS FOR DEFENDANT,
                                            LIBERTY MUTUAL FIRE
                                            INSURANCE COMPANY




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of April, 2018, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and transmittal
of Notice of Electronic Filing to the Following ECF registrants:

         Steven S. Mansell
         Mark A. Engel
         Kenneth G. Cole
         M. Adam Engel

         ATTORNEYS FOR PLAINTIFF



                                           s/William W. O’Connor
                                           William W. O’Connor

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